Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 1 of 24 PageID #: 1685
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 2 of 24 PageID #: 1686
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 3 of 24 PageID #: 1687
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 4 of 24 PageID #: 1688
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 5 of 24 PageID #: 1689
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 6 of 24 PageID #: 1690
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 7 of 24 PageID #: 1691
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 8 of 24 PageID #: 1692
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 9 of 24 PageID #: 1693
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 10 of 24 PageID #: 1694
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 11 of 24 PageID #: 1695
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 12 of 24 PageID #: 1696
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 13 of 24 PageID #: 1697
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 14 of 24 PageID #: 1698
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 15 of 24 PageID #: 1699
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 16 of 24 PageID #: 1700
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 17 of 24 PageID #: 1701
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 18 of 24 PageID #: 1702
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 19 of 24 PageID #: 1703
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 20 of 24 PageID #: 1704
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 21 of 24 PageID #: 1705
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 22 of 24 PageID #: 1706
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 23 of 24 PageID #: 1707
Case 1:10-cr-00044-GNS Document 659 Filed 07/19/12 Page 24 of 24 PageID #: 1708
